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                            FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




AMERICAN CIVIL LIBERTIES UNION                   No.   14-17339
OF NORTHERN CALIFORNIA,
                                                 D.C. No. 3:12-cv-04008-MEJ
              Plaintiff-Appellee,                Northern District of California,
                                                 San Francisco
 v.

UNITED STATES DEPARTMENT OF                      ORDER
JUSTICE,

              Defendant-Appellant.


Before: HAWKINS, BERZON, and MURGUIA, Circuit Judges.

      The panel hereby orders Defendant-Appellant United States Department of

Justice to submit the pages of the Department of Justice USABook at issue in this

appeal (“CRM 4” and “CRM 5”) to the panel for in camera review. The

Department of Justice shall mail four copies of the documents, in a sealed envelope

with a separate cover letter, to the Ninth Circuit Court of Appeals at 95 Seventh

Street, San Francisco, CA 94103 or P.O. Box 193939, San Francisco, CA 94119-

3939. The documents shall be mailed by no later than December 30, 2016.
